                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


WRIT OF HABEAS CORPUS
TO THE MARSHAL FOR THE DISTRICT OF MASSACHUSETTS, or any of his deputies,

and to the : Superintendent of the Billerica house of corrections


YOU ARE COMMANDED to have the body of Rafael M. Ashworth; YOB: 1994; last 4: 8191                          now

in your custody, before the United States District Court for the District of Massachusetts, United States

Courthouse, 1 Courthouse Way, Courtroom No.                23     , on the          7th           floor, Boston,

Massachusetts on          12/20/19 , at   10:00 AM        for the purpose of     Detention Hearing        in the

case of     USA        V. Rafael M. Ashworth       . Docket Number 19-mj-1328-DLC .

          And you are to retain the body of said Rafael M. Ashworth                  while before said Court

upon said day and upon such other days thereafter as his attendance before said Court shall be

necessary, and as soon as may be thereafter to return said Rafael M. Ashworth               to the institution

from which he was taken, under safe and secure conduct, to be there imprisoned as if he had not been

brought therefrom for the purpose aforesaid. And have you then and there this Writ with your doings

herein.

          Dated this      18th   day of   December, 2019            .



                                                         ROBERT FARRELL
                                                         CLERK OF COURT
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                                                        By:      /s/ Noreen A. Russo
                                                              Noreen A. Russo, Deputy Clerk
                                                              to the Honorable Donald L. Cabell
